Case 8:24-cr-00068-KKM-TGW Document 36-3 Filed 05/09/24 Page 1 of 2 PageID 233




                               Exhibit C
Case 8:24-cr-00068-KKM-TGW Document 36-3 Filed 05/09/24 Page 2 of 2 PageID 234




                                                                                               Dropbox, Inc.
                                                                                          1800 Owens Street
                                                                                     San Francisco, CA 94158
                                                                                  records@dropboxlegal.com


                                      Certificate of Business Records


 Service date of process: 1/30/2023

 Requesting individual: Mark Haines

 Name of business from whom records are sought: Dropbox Inc.

 Process reference number (assigned by Dropbox): 00029309

         I, Han Vu, the undersigned, state:

         1.      I am the duly authorized custodian of the records.
         2.      My title is Analyst, Law Enforcement Response Team at Dropbox.
         3.      I have authority to certify as genuine copies of records of the above-named business.
         4.      Copies of the records transmitted herewith are documents related to the Dropbox
                 account(s) identified in the above-referenced legal process. These records are true
                 copies of all of the original records of the above-named business described in the legal
                 process identified above, to the extent that the business has such records and could
                 locate them using reasonable diligence.
         5.      The original records (referred to above in number 4) were prepared by the employees of
                 the above-named business in the following manner: Downloading said records,
                 encrypting them, and sending them to the requesting individual identified above.
         6.      The records referred to above were prepared by personnel of the above-named
                 business in the ordinary course of business. Dropbox’s servers record the data reflected
                 in the records automatically at or near the time it is entered or transmitted by the user.
         7.      The records referred to above were also generated by an electronic system that
                 produces an accurate result.

         I declare under penalty of perjury that the above is true and correct.



 Executed on: February 2, 2023                            Signature:

 Location: Oakland, California                            Name: Han Vu
